Case 2:23-cv-00120-JRS-MG Document 1-2 Filed 03/16/23 Page 1 of 2 PageID #: 75




                        Exhibit 1
                  BLF SOS Entity Details
  Case 2:23-cv-00120-JRS-MG Document 1-2 Filed 03/16/23 Page 2 of 2 PageID #: 76



                                                                                        BUSINESS INFORMATION
                                                                                            DIEGO MORALES
                                                                                      INDIANA SECRETARY OF STATE
                                                                                           03/15/2023 11:04 PM




Business Details


         Business Name: THE BOPP LAW FIRM, PC                                           Business ID: 2012042400279
             Entity Type: Domestic Professional Corporation                         Business Status: Active
          Creation Date: 04/23/2012                                                   Inactive Date:
                             1 S SIXTH ST, TERRE HAUTE, IN,
Principal Office Address:                                                           Expiration Date: Perpetual
                             47807, USA
    Foreign Legal Name:
Jurisdiction of Formation:                                           Business Entity Report Due Date: 04/30/2024




Governing Person Information


TITLE                          President
NAME                           James Bopp, Jr
ADDRESS                        1 S. 6TH ST., TERRE HAUTE, IN, 47807, USA


Incorporators Information


TITLE                         Incorporator
NAME
ADDRESS                       1 S SIXTH ST, TERRE HAUTE, IN, 47807, USA


Registered Agent Information


                      Type: Individual
                     Name: JAMES BOPP, JR.
                   Address: 1 S SIXTH ST, TERRE HAUTE, IN, 47807, USA
